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               EXHIBIT 42
      Spreadsheet Detailing Purge-Letter Recipients
                Who Contacted ADOL
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